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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK | DOC #:
X | DATE FILED:

   

 

 

 

 

UNITED STATES OF AMERICA,
S118 Cr, 567 (VSB)

- against - : ORDER

CHRISTOPHER COLLINS, et al.,
Defendants. :

xX

 

VERNON S$. BRODERICK, United States District Judge:

On September 6, 2019, I sent a copy of my Opinion & Order on Defendants’ pretrial
motions, (Docs. 62-66), to the parties. Because the Opinion & Order refers to materials that
were redacted or filed under seal, I have not yet filed it on the public docket. Accordingly, it is
hereby:

ORDERED that the parties are directed to submit a joint letter on or before September
11, 2019, indicating what portions of the Opinion & Order, if any, should be redacted and the
rationale for such redactions.

IT IS FURTHER ORDERED that at the status conference currently scheduled for
September 12, 2019, the parties should be prepared to discuss (1) any substantive pretrial
motions they wish to make, including the nature and basis for such motions; (2) amending the
schedule for briefing any substantive motions; (3) whether Defendant Christopher Collins .
intends to file an interlocutory appeal, and if so, whether he intends to seek expedited
consideration from the Second Circuit; (4) the trial schedule; (5) the schedule for the production
of § 3500 material; and (6) their positions on proceeding with the trial against Defendants

Cameron Collins and Stephen Zarsky as scheduled if the proceedings in the Second Circuit

 
involving Christopher Collins have not been completed

IT IS FURTHER ORDERED that because the parties will be discussing scheduling at the

September 12 conference, Defendants may not waive their appearances

SO ORDERED.
Dated: September 6, 2019
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Vernon S. Broderick
United States District Judge
